                                                                                                                                                            POS-010
             Case 2:23-cv-08728-DSF-MAA Document 15 Filed 12/07/23 Page 1 of 2FORPage
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                IDONLY
                                                                                 COURT USE   #:64
    Omid E. Khalifeh | SBN: 267340
    Omni Legal Group
    2029 Century Park East Suite 400 Los Angeles, CA 90067
   TELEPHONE NO.: (310) 276-6664 | FAX NO. | E-MAIL ADDRESS (Optional): lara@omnilegalgroup.com
    ATTORNEY FOR (Name): Plaintiff: JOBIAK, LLC


 UNITED STATES DISTRICT COURT
          STREET ADDRESS: 350 W. FIRST STREET

          MAILING ADDRESS:

         CITY AND ZIP CODE: LOS ANGELES, CA 90012

             BRANCH NAME: CENTRAL DISTRICT OF CALIFORNIA

      PLAINTIFF: JOBIAK, LLC., a Delaware Limited Liability Company                                            CASE NUMBER:

   DEFENDANT: ASPEN TECHNOLOGY LABS, INC., a Colorado Corporation                                              2:23-cv-08728 DSF (MAAx)

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS                                                                     JOBIAK, LLC
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

    a.       Summons
    b.       Complaint
    c.       Alternative Dispute Resolution (ADR) package
    d.       Civil Case Cover Sheet (served in complex cases only)
    e.       Cross-complaint
    f.    other (specify documents): (1) Notice of Assignment to District Judge(2) Plaintiff's Complaint(3) Plaintiff's Exhibits to the
             Complaint(4) Notice of Interested Parties(5) Court Issued Summons (6) ADR Notice(7) Notice to Counsel Re: Consent to
             Proceed before Magistrate Judge
3. a. Party served (specify name of party as shown on documents served):
    ASPEN TECHNOLOGY LABS INC

    b.    Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         Michael Woodrow - President
                                                  Age: 59 Race: White Sex: Male Height: 5'11" Weight: 200 Hair: Salt & Pepper

4. Address where the party was served: 600 E Hopkins Ave STE 303
                                                      Aspen, CO 81611
5. I served the party (check proper box)
   a.    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 12/1/2023 (2) at (time): 4:42 PM

    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3b):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address
                        of the person to be served, other than a United States Postal Service post office box. I informed him of her of the
                        general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or    a declaration of mailing is attached.

             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                              Page 1 of 2
Form Approved for Mandatory Use                                                                                                          Code of Civil Procedure, § 417.10
Judicial Council of California                               PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                                     POS010-1/39740
             Case 2:23-cv-08728-DSF-MAA
          PETITIONER:                                         Document
                      JOBIAK, LLC., a Delaware Limited Liability Company 15        Filed 12/07/23 Page 2 of
                                                                                                     CASE   2 Page ID #:65
                                                                                                          NUMBER:

                                                                                                                 2:23-cv-08728 DSF (MAAx)
      RESPONDENT: ASPEN TECHNOLOGY LABS, INC., a Colorado Corporation


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                                (2) from (city):
                (3)        with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                           (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):



           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.    On behalf of (specify): ASPEN TECHNOLOGY LABS INC
                under the following Code of Civil Procedure section:
                              416.10 (corporation)                                415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                    416.60 (minor)
                                   416.30 (joint stock company/association)        416.70 (ward or conservatee)
                                   416.40 (association or partnership)             416.90 (authorized person)
                                   416.50 (public entity)                          415.46 (occupant)
                                                                                   other:

7. Person who served papers
   a. Name: Deette Bryson - Apex Legal Services
   b. Address: 611 Wilshire Boulevard, Ste 700 Los Angeles, CA 90017
   c. Telephone number: (213) 488-1500
   d. The fee for service was: $ .00
   e. I am:

          (1)    not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                 employee             independent contractor.
                  (ii) Registration No.:
                  (iii) County:

8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.



                Date: 12/4/2023
                Apex Legal Services
                611 Wilshire Boulevard, Ste 700
                Los Angeles, CA 90017
                (213) 488-1500




                                   Deette Bryson
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                  (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                           Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/39740
